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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


In re
                                                                Chapter 11
AMERICAN HOME MORTGAGE                                          Case No. 07-11047-CSS, et seq.
HOLDINGS, INC., et al.,
                                                                Objections due by: May 5, 2008, 4:00 p.m.
                                                                Hearing Date: May 12, 2008, 10:00 a.m.
                                 Debtors.


           NOTICE OF MOTION OF WASHINGTON MUTUAL BANK
   FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:        Parties listed on the Certificate of Service

        Washington Mutual Bank has filed a Motion for Relief from Stay which seeks the
following relief: Relief from the automatic stay to exercise its non-bankruptcy rights with respect
to a parcel of real property in which the above-captioned debtor may hold an interest, located at
1351 Medina Avenue NW, Palm Bay, FL 32907.
           HEARING ON THE MOTION WILL BE HELD ON MAY 12, 2008, 10:00 A.M.

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at least five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

                                            Adam Hiller, Esquire
                                            Maria Aprile Sawczuk, Esquire
                                            Draper & Goldberg, PLLC
                                            1500 North French Street, 2nd Floor
                                            Wilmington, Delaware 19801
                                            (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.




Movant: Washington Mutual Bank
D&G Reference: 214771
Property Address: 1351 Medina Avenue NW, Palm Bay, FL 32907
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    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: April 23, 2008              Respectfully submitted,
       Wilmington, Delaware
                                   DRAPER & GOLDBERG, PLLC


                                    /s/ Adam Hiller
                                   Adam Hiller (DE No. 4105)
                                   Maria Aprile Sawczuk (DE No. 3320)
                                   1500 North French Street, 2nd Floor
                                   Wilmington, Delaware 19801
                                   (302) 339-8776 telephone
                                   (302) 213-0043 facsimile

                                   Attorneys for Movant




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